                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA                     )
                                             )
        v.                                   )       Case No. 1:16-cr-19-3
                                             )       Judge Mattice/Steger
JOSE ROBERTO NAVARRO                         )
CARDENAS                                     )


                           REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), the undersigned United States Magistrate Judge

conducted a plea hearing in this case on June 30, 2016. At the hearing, Defendant entered a plea

of guilty to Count One of the Indictment in exchange for the undertakings made by the

Government in the written Plea Agreement and Plea Agreement Supplement (hereinafter “Plea

Agreement”). On the basis of the record made at the hearing, the Court finds that Defendant is

fully capable and competent to enter an informed plea; the plea is made knowingly and with full

understanding of each of the rights waived by Defendant; the plea is made voluntarily and free

from any force, threats, or promises, apart from the promises in the Plea Agreement; Defendant

understands the nature of the charges and penalties provided by law; and the plea has a sufficient

basis in fact.

        I therefore recommend that Defendant’s plea of guilty to Count One of the Indictment be

accepted; the Court adjudicate Defendant guilty of the charges set forth in Count One of the

Indictment; and the written Plea Agreement be accepted at the time of sentencing. I further

recommend that Defendant remain in custody until sentencing in this matter. Acceptance of the

plea, adjudication of guilt, acceptance of the Plea Agreement, and imposition of sentence are


                                                 1




Case 1:16-cr-00019-TRM-CHS           Document 51       Filed 06/30/16      Page 1 of 2     PageID
                                           #: 140
specifically reserved for the District Court Judge.

       The Defendant’s sentencing hearing is scheduled on October 17, 2016, at 9:00 a.m.

       ENTER:


                                              s/Christopher H. Steger
                                              UNITED STATES MAGISTRATE JUDGE




                                      NOTICE TO PARTIES

        You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen (14) days after the
plea hearing. Failure to file objections within fourteen days constitutes a waiver of any further
right to challenge the plea of guilty in this matter. See 28 U.S.C. § 636(b).




                                                 2




Case 1:16-cr-00019-TRM-CHS           Document 51       Filed 06/30/16      Page 2 of 2     PageID
                                           #: 141
